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AP

Gun groups: Million-plus extended magazines

flood California
By DON THOMPSON April 11, 2019

SACRAMENTO, Calif. (AP) — More than a million high-capacity
ammunition magazines flooded into California during a one-week
window created when a federal judge temporarily threw out the state’s
ban, gun owners’ groups estimated Thursday.

Reform groups said the projections are self-serving as gun rights

organizations try to make the case that magazines holding more than 10
bullets are so common now that a ban is impractical.

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The magazines aren’t tracked. But there are plenty of anecdotal
indications that the floodgates briefly opened when U.S. District Judge
Roger Benitez overturned the state’s nearly 20-year-old ban late last
month.

The judge halted sales a week later, but ruled that those who bought the
magazines can legally own them while the state appeals his ruling.

“Everything was all sold out. I basically took whatever I could get,” said
Chris Puehse, who owns Foothill Ammo in Shingle Springs, east of
Sacramento.

He fielded dozens of telephone calls while buyers stacked up 20 deep in
his one-man store to buy the hundreds of magazines that arrived in two
shipments last week. He had just six left by the time Benitez reinstated
the ban last Friday.

“People loved it. It was like we were out of prison and were not treated
like bastard stepchildren of the country anymore,” he said.

Thirty-round magazines for military-style rifles, handgun magazines
holding 17 to 20 bullets, all selling for less than $30 each — “they
disappeared,” Puehse said. “They wanted to grab more than I let them,
otherwise they would have been gone even faster than a few hours.”

State Attorney General Xavier Becerra warned hours before Benitez
again halted sales that California was in danger of becoming “the wild,
wild West for high-capacity magazines.”

“There are those who are now trying to flood the state of California with
what were until this decision illegal high-capacity magazines, the type of
magazines that are used in firearms to commit the mass shootings that
we've seen throughout the country,” Becerra said.

Ruger Firearms announced it was releasing its entire inventory. South
Carolina-based Palmetto State Armory announced in a Facebook ad that
it was “prepared to send a whole lot of freedom to our friends in
California,” but warned of delays due to high demand.

“The pipeline was open and it was flowing, on all platforms — people
showing up (in stores), online — I’m guessing that UPS and FedEx had a
field day,” said Gun Owners of California president Sam Paredes. “It was
a frenzy.”

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He said an estimate of a million magazines “seems a little bit low.”

Chuck Michel, an attorney for the National Rifle Association and the
California Rifle & Pistol Association, has a photograph of empty racks at
a Bass Pro Shops store in Las Vegas that used to hold magazines before
Californians flocked to the neighboring state to stock up. California’s
more than 2.5 million gun owners together have nearly 20 million guns,
many of which can use the extended magazines.

By week’s end, Michel said, “you couldn’t get one anywhere, because all
that inventory had been diverted to California. That’s probably at least a
million magazines, probably approaching two to several hundred
thousand people.”

Staff attorneys with the Giffords Law Center to Prevent Gun Violence in
San Francisco said they’ve seen no evidence to back up the million-
magazine estimate, and said gun rights organizations have a vested
interest in inflating the number of law-abiding owners.

“They have a very specific purpose and intent here to try to set up for the
court that these are devices that are very commonly used and possessed”
and therefore should not be banned again, said California legislative
affairs director Ari Freilich.

“It lets them argue that there’s no way to un-ring the bell,” added
litigation director Hannah Shearer.

The problem isn’t the new owners who will use them legally for target
shooting or self-defense, they said: it’s that some will fall into the hands
of criminals or be used by mass shooters.

The magazines allow shooters to fire more bullets without stopping to
reload. Gun owners’ organizations — and Judge Benitez — said that’s
helpful to ward off multiple home invaders, but opponents said it gives
victims less time to escape or tackle a mass shooter as he reloads.

Reformers expect the 9th U.S. Circuit Court of Appeals to keep the ban
on sales while reinstating a 2016 law and ballot measure banning
possession even by those who own them legally.

Opponents are counting on the U.S. Supreme Court to ultimately side
with Benitez’s ruling that the bans infringe on the Second Amendment
right to bear arms.

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“Because of that one slip-up, in one week you literally had millions of
magazines come into the state that were bought legally,” said Puehse,
the gun shop owner. “These magazines are here to stay.”

https://apnews.com/article/9a5da7c4bbb74156944fe231 7dedc88c

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